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U.S. Department of Justice

William D. Weinreb
Acting United States Attorney
District of Massachusetts

 

 

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1 Courthouse Way
Suite 9200
Boston. Massachusetts 02210

July 21, 2017

Paul D. Petruzzi, Esq.
169 East Flagler St., Suite 1241
Miami, FL 33131

David Garvin, Esq.

200 South Biscayne Blvd.
Suite 3150

Miami, FL 33131

Re: United States v. Sally Ann Johnson
Dear Messrs. Petruzzi and Garvin:

Contingent on the approval of the Tax Division of the Department of Justice. the Acting
United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your client.
Sally Ann Johnson (“Defendant”), agree as follows with respect to the above-referenced case:

l. Change of Plea

At the earliest practicable date, Defendant shall waive indictment and plead guilty to an
Information substantially in the form attached to this Plea Agreement charging her with attempts
to interfere with the administration of the internal revenue laws, in violation of
26 U.S.C. § 7212(a). Defendant expressly and unequivocally admits that she committed the crime
charged in Count One of the Information, did so knowingly and willfully, and is in fact guilty of
that offense. Defendant also agrees to waive venue, to waive any applicable statute of limitations,
and to waive any legal or procedural defects in the Information.

The U.S. Attorney agrees not to charge Defendant pursuant to 18 U.S.C. § 1343 (wire
fraud), 26 U.S.C. § 7201 (tax evasion), or other statute based on conduct currently known to the
U.S. Attorney underlying the offense involving Jane Doe charged in the Information.

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2. Penalties

Defendant faces the following maximum penalties on the count of the Information:
incarceration for three years; supervised release for one year; a fine of not more than $5,000; a
mandatory special assessment of $100; and restitution.

Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms her decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
from the United States.

3. Sentencing Guidelines

The sentence to be imposed upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines (“USSG” or
“Guidelines”). While the Court may impose a sentence up to and including the statutory maximum
term of imprisonment and statutory maximum fine, it must consult and take into account the USSG
and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a sentence.

The U.S. Attorney will take the position that Defendant's offense level under the USSG
(prior to any adjustment for acceptance of responsibility) is calculated as follows:

e in accordance with USSG §§ 2T1.1(a)(1) and 2T4.1(H), Defendant’s base
offense level is twenty because the tax loss is more than $550,000 but not more
than $1,500,000; and

e inaccordance with USSG § 2T1.1(b)(1), Defendant’s offense level is increased
by two because Defendant failed to report the source of income exceeding
$10,000 in any year from criminal activity.

The U.S. Attorney agrees not to seek any further upward adjustments or enhancements
under the Guidelines.

If Defendant contends that there is a basis for departure from, or a sentence outside, the
otherwise applicable Guidelines sentencing range based on Defendant’s medical, mental. and/or
emotional condition, or otherwise intends to rely on any such condition at sentencing, Defendant
will, forthwith upon request, execute all releases and other documentation necessary to permit the
U.S. Attorney and his experts (including Bureau of Prisons medical personnel) to obtain access to
Defendant’s medical, psychiatric, and psychotherapeutic records and will also provide to the U.S.

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Attorney forthwith copies of any such records already in Defendant’s possession. In addition,
Defendant will authorize Defendant’s care providers to discuss Defendant’s condition with the
U.S. Attorney and his agents (including Bureau of Prisons medical personnel), as well as experts
retained by the U.S. Attorney. Defendant also agrees to submit to examinations and interviews
with experts retained by and chosen by the U.S. Attorney (including Bureau of Prisons medical
personnel).

The U.S. Attorney reserves the right to oppose Defendant’s arguments for a departure from,
or a sentence outside, the USSG under the factors set forth in 18 U.S.C. § 3553(a).

Based on Defendant’s prompt acceptance of personal responsibility for the offense of
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attorney
agrees to recommend that the Court reduce by three levels Defendant’s adjusted offense level

under USSG § 3E1.1.

The U.S. Attorney reserves the right not to recommend a reduction under USSG § 3E1.1
if, at any time between Defendant’s execution of this Plea Agreement and sentencing, Defendant:

(a) Fails to admit a complete factual basis for the plea;
(b) Fails to truthfully admit Defendant’s conduct in the offense of conviction:

(c) Falsely denies, or frivolously contests, relevant conduct for which
Defendant is accountable under USSG § 1B1.3:

(d) Fails to provide truthful information about Defendant’s financial status;
(e) Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which

Defendant is accountable under USSG § IBI.3:

(f Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3C1.1;

(g) Intentionally fails to appear in Court or violates any condition of release;
(h) Commits a crime:

(i) Transfers any asset protected under any provision of this Plea Agreement;
or

(j) Attempts to withdraw Defendant's guilty plea.

Defendant understands and acknowledges that Defendant may not withdraw her plea of

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guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG § 3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4. Sentence Recommendation

 

The U.S. Attorney agrees to recommend the following sentence before the Court:

(a)

(b)

(c)

(d)

(c)

incarceration within the Guidelines sentencing range as calculated by the
U.S. Attorney in Paragraph 3;

a fine within the Guidelines sentencing range as calculated by the
U.S. Attorney in Paragraph 3, unless the Court finds that Defendant is not
able and, even with the use of a reasonable installment schedule, is not likely
to become able to pay a fine;

12 months of supervised release:

a mandatory special assessment of $100, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing (unless Defendant
establishes to the Court’s satisfaction that Defendant is unable to do so):

and

restitution, as described below, as a condition of supervised release.

The parties agree jointly to recommend:

restitution to the Internal Revenue Service (“IRS”) in an amount to be
determined at sentencing for tax loss resulting from tax years 2007 through
2014; and

restitution of $3,567,300 to the person described as Jane Doe in the Information,
who made the payments to Defendant on which the tax loss was computed.

The parties agree jointly to recommend the following special condition of any term of
supervised release or probation:

During the period of supervised release or probation, Defendant must, within six months
of sentencing or release from custody, whichever is later:

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(1) cooperate with the Examination and Collection Divisions of the IRS:

(ii) provide to the Examination Division all financial information necessary to
determine Defendant’s prior tax liabilities;

(iii) provide to the Collection Division all financial information necessary to
determine Defendant's ability to pay:

(iv) file accurate and complete tax returns for those years for which returns were
not filed or for which inaccurate returns were filed: and

(v) make a good faith effort to pay all delinquent and additional taxes, interest,
and penalties.

Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later than
twenty-one days before sentencing. Any basis for sentencing as to which Defendant has not
provided the U.S. Attorney all such items at least twenty-one days before sentencing shall be
deemed waived.

5, Protection of Assets for Payment of Restitution. Forfeiture and Fine

Defendant agrees not to transfer, or authorize the transfer of, any asset that has been
restrained by Order of the Court in this case or any asset, whether or not restrained, that Defendant
has agreed to forfeit pursuant to this Plea Agreement.

Defendant agrees not to transfer, or authorize the transfer of any other asset in which
Defendant has an interest without prior express written consent of the U.S. Attorney. except for:

(a) Assets subject to superior, secured interests of innocent third parties, in
which Defendant has an equity interest of less than $5,000;

(b) Ordinary living expenses necessary to house, clothe, transport, and feed
Defendant and those to whom Defendant owes a legal duty of support, so
long as such assets do not exceed $5,000 per month: and

(c) Attorney’s fees incurred in connection with this criminal case.
This prohibition shall be effective as of the date of Defendant's execution of this Plea

Agreement and continue until the fine, forfeiture, and restitution ordered by the Court at sentencing
and any tax liability incurred as a result of the conduct charged in the Information are satisfied in

full,
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If the U.S. Attorney requests, Defendant further agrees to complete truthfully and
accurately the enclosed sworn financial statement and to deliver that statement to the U.S. Attorney
within 30 days of signing this Plea Agreement.

6. Waiver of Rights to Appeal and to Bring Future Challenge

(a)

(b)

(c)

(d)

Defendant has conferred with her attorney and understands that she has the
right to challenge both her conviction and her sentence (including any
orders relating to supervised release, fines, forfeiture, and restitution) on
direct appeal. Defendant also understands that, in some circumstances,
Defendant may be able to argue in a future proceeding (collateral or
otherwise), such as pursuant to a motion under 28 U.S.C. § 2255, 28 U.S.C.
§ 2241, or 18 U.S.C. § 3582(c), that Defendant’s conviction should be set
aside or Defendant’s sentence (including any orders relating to supervised
release, fines, forfeiture, and restitution) set aside or reduced.

Defendant waives any right to challenge Defendant's conviction on direct
appeal or in a future proceeding (collateral or otherwise).

Defendant agrees not to file a direct appeal or challenge in a future
proceeding (collateral or otherwise) any sentence of imprisonment of 36
months or less or any orders relating to supervised release, fines, forfeiture.
and restitution. This provision is binding even if the Court’s Guidelines
analysis is different from that set forth in this Plea Agreement.

The U.S. Attorney likewise agrees that, regardless of the analysis employed
by the Court, the U.S. Attorney will not appeal any imprisonment sentence
of 36 months or more.

Regardless of the previous sub-paragraphs, Defendant reserves the right to
claim that: (1) Defendant’s lawyer rendered ineffective assistance of counsel
under Strickland v. Washington; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence.

7. Other Post-Sentence Events

(a)

If, despite the waiver provision of sub-paragraph 6(c),Defendant appeals or
challenges in a future proceeding (collateral or otherwise) Defendant's
sentence, the U.S. Attorney reserves the right to argue the correctness of the
sentence imposed by the Court (in addition to arguing that any appeal or
future challenge (collateral or otherwise) is waived as a result of the waiver
in sub-paragraph 6(c)).

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(b) If, despite the waiver provision of sub-paragraph 6(c), Defendant seeks re-
sentencing, Defendant agrees not to seek to be re-sentenced with the benefit
of any change to the Criminal History Category that the Court calculated at
the time of Defendant's original sentencing, except to the extent that
Defendant has been found actually factually innocent of a prior crime.

(c) In the event of a re-sentencing following an appeal from or future challenge
(collateral or otherwise) to Defendant's sentence, the U.S. Attorney reserves
the right to seek a departure from and a sentence outside the USSG if, and
to the extent, necessary to reinstate the sentence the U.S. Attorney
advocated at Defendant’s initial sentencing pursuant to this Plea
Agreement.

8. Court Not Bound by Plea Agreement

The parties’ sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the maximum sentence
Defendant faces under the applicable law, the sentence to be imposed is within the sole discretion
of the Court. Defendant's plea will be tendered pursuant to Fed. R. Crim. P. I 1(c)(1)(B).
Defendant may not withdraw her plea of guilty regardless of what sentence is imposed, or because
the U.S. Probation Office or the Court declines to follow the parties’ USSG calculations or
recommendations. Should the Court decline to follow the U.S. Attorney’s USSG calculations or
recommendations, the U.S. Attorney reserves the right to defend the Court’s calculations and
sentence in any direct appeal or future challenge (collateral or otherwise).

9, Information For Presentence Report

Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant’s assets.

10. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph | of this
Plea Agreement. Defendant agrees to cooperate with employees of the IRS, the Civil Division of
the U.S. Attorney’s Office, and law enforcement agents working with attorneys in the Civil
Division of the U.S. Attorney’s Office, in making an assessment of his civil liabilities. Defendant
specifically authorizes release by the IRS to the aforementioned agencies and their representatives
of information for purposes of making that assessment.
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1]. Rejection of Plea by Court

Should Defendant’s guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant’s motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

12, Breach of Plea Agreement

If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant's pretrial release, or has committed
any crime following Defendant’s execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and all
charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that her breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant’s guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.

13. Who Is Bound By Plea Agreement

This Plea Agreement is binding on the U.S. Attorney for the District of Massachusetts and
the Tax Division of the Department of Justice, and cannot and does not otherwise bind the Attorney
General of the United States or any other federal, state or local prosecutive authorities.

14. Complete Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign

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below as Witness. Return the original of this letter to Assistant U.S. Attorneys Sandra $. Bower
or Brian A. Pérez-Daple.

Very truly yours,

WILLIAM D. WEINREB
Acting United States Attorney

By: ZEAE.

“STEPHEN E. FRANK

Chief, DD Crimes Unit

SANDRA S,BOWER
BRIAN A. PEREZ-DAPLE
Assistant U.S. Attorneys
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ACKNOWLEDGMENT OF PLEA AGREEMENT

| have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney's
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney’s Office: and (c) no official of the United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, | have
received no prior offers to resolve this case. | understand the crime to which I have agreed to plead
guilty, the maximum penalties for that offense and the Sentencing Guideline penalties potentially
applicable to it. | am satisfied with the legal representation provided to me by my attorney. We
have had sufficient time to meet and discuss my case. We have discussed the charge against me,
possible defenses | might have, the terms of this Plea Agreement and whether I should go to trial.
I am entering into this Plea Agreement freely, voluntarily, and knowingly because I am guilty of
the offense to which I am pleading guilty, and I believe this Plea Agr my best interest.

   
    

Defend

Date: 1-77 = 20/7

I certify that Sally Ann Johnson has read this Plez
its meaning. | believe she understands the Plea Agreem
freely, voluntarily, and knowingly. | also certify that tl
offers regarding a change of plea in this case.

    
    

greement and that we have discussed
nd is entering into the Plea Agreement
S. Attorney has not extended any other

 

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